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                                       UNITED STATES DISTRICT COURT
                                       FOR THE DISTRICT OF MARYLAND


 DONNA BUETTNER-HARTSOE, et al.

            Plaintiff

 v.
                                                                        Case No.: 1:20-cv-03132-GLR
 BALTIMORE LUTHERAN HIGH
 SCHOOL ASSOCIATION d/b/a
 CONCORDIA PREPARATORY SCHOOL,
 et al.

            Defendants


                          NOTICE OF FILING OF DOCUMENT UNDER SEAL

          Exhibit 1 which is an attachment to Docket No. 40 will be electronically filed under seal

within 24 hours of the filing of this Notice.

          I certify that at the same time I am filing this Notice, I will serve copies of the document

identified above by e-mail to all counsel of record.



 Respectfully submitted,


 /s/Gregg E. Viola                                                      /s/Mark P. Johnson
 Gregg E. Viola (25737)                                                 Mark P. Johnson (29091)
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        Case 1:20-cv-03132-RDB Document 40-1 Filed 04/20/21 Page 2 of 2



 /s/Eric M. Rigatuso
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                               CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on this 20th day of April, 2021, copies of the foregoing, and a

proposed Order, were served via the Court’s CM/ECF system to all counsel of record.


                                                  /s/Eric M. Rigatuso
                                                  Eric M. Rigatuso (Bar # 27605)




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